Case 2:03-CV-02760-SHI\/|-STA Document 36 Filed 08/18/05 Page 1 of 2 Page|D 38

IN'THE UNITED sTATES DISTRICT cOU£PEDBY»- UC.
FOR THE WESTERN DISTRICT OF TENNE§E¥F h
WESTERN DIVISION Ublg pH h,53

 

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KENNETH W. STEWART, RKUSCGUWTUMH
V\E' 1(§3§~’ ?;-; p.,-cH-n
“~RWHB
Plainti££,

VS. NO. O3~2760-MaA

NEWTON WRIGHT, ET AL. ,

Defendants.

 

ORDER OF DISMISSAL

 

The parties have submitted a “Notice Of Filing cf
Plaintiff's Notice Of Voluntary Dismissal” in this matter
indicating that this matter may be dismissed. It is therefore
ORDERED that this case is DISMISSED With prejudice.

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day Of August, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

Entered this

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:03-CV-02760 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

Arthur CroWnover

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P.O. Box 20207

Nashville, TN 37202--020

Honorable Samuel Mays
US DISTRICT COURT

